                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE




 CANDICE R. SULFRIDGE,                         )
                                               )
                Plaintiff,                     )
                                               )
 v.                                            )       No. 3:05-CV-188
                                               )       (Phillips/Guyton)
 JOHN HUFF, et al.,                            )
                                               )
                Defendants.                    )



                                 MEMORANDUM AND ORDER

                This matter is before the undersigned pursuant to 28 U.S.C. § 636(b), the Rules of

 this Court, and by Order [Doc. 118] of the Honorable Thomas W. Phillips, United States District

 Judge, for disposition of the defendant Randy Hinton’s Motion to Compel [Doc. 116].

                The defendant moves the Court for an Order compelling the plaintiff to respond to

 the First Set of Interrogatories and Request for Production of Documents propounded to the plaintiff

 on November 21, 2005. [Doc. 116].

                The plaintiff failed to file a response to the defendant’s motion within the time period

 required by E.D.TN. LR 7.1(a). “Failure to respond to a motion may be deemed a waiver of any

 opposition to the relief sought.” E.D.TN. LR 7.2. Accordingly, for good cause shown, the

 defendant’s Motion to Compel [Doc. 116] is GRANTED. The plaintiff is DIRECTED to serve

 responses to defendant Hinton’s First Set of Interrogatories and Request for Production of

 Documents within twenty (20) days of the entry of this Order.




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                The plaintiff is hereby put on notice that failure to cooperate in discovery and to

 follow the Orders of this Court may result in monetary sanctions and possibly the dismissal of this

 lawsuit. See Fed. R. Civ. P. 37(b)(2)(C).

                IT IS SO ORDERED.


                                              ENTER:


                                                    s/ H. Bruce Guyton
                                              United States Magistrate Judge




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